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                                                    Balance Sheet
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                                                                                                           TOTAL
ASSETS
 Current Assets
 Bank Accounts
  Chase Ckg 8929                                                                                         13,320.38
  Chase Svg 2016                                                                                         63,029.33
 Total Bank Accounts                                                                                    $76,349.71
 Other Current Assets
  Uncategorized Asset                                                                                         0.00
  Undeposited Funds                                                                                           0.00
 Total Other Current Assets                                                                                  $0.00
 Total Current Assets                                                                                   $76,349.71
 Fixed Assets
 Accumulated Depreciation                                                                              -102,222.00
 Fixed Assets
  Computers & Phones                                                                                      1,802.21
  Ford 2002 F-150                                                                                        11,300.00
  Ford Purchase                                                                                           8,000.00
  Tools and Equipment                                                                                   117,881.53
  Trailer                                                                                                 3,100.00
  Utility Trailer                                                                                          568.28
  Vehicles                                                                                              128,963.85
 Total Fixed Assets                                                                                     271,615.87
 Total Fixed Assets                                                                                    $169,393.87
 Other Assets
 Emp Retention Credit                                                                                    28,797.63
 Total Other Assets                                                                                     $28,797.63
TOTAL ASSETS                                                                                           $274,541.21

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Credit Cards
   Credit Cards
    AMEX 2-01008                                                                                         11,299.46
    AMEX 1-11003                                                                                         12,936.71
    Capital One                                                                                           4,385.84
    Chase Ink 1168                                                                                       26,167.81
   Total Credit Cards                                                                                    54,789.82
  Total Credit Cards                                                                                    $54,789.82
  Other Current Liabilities
   Child Support                                                                                        -26,730.41
   Christian Garnishment                                                                                 -2,598.98
   CS Fee Payable                                                                                        -4,583.41
   Direct Deposit Payable                                                                                     0.00

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                                                       Balance Sheet
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                                                                                                                TOTAL
   Payroll in Transit                                                                                         -1,901.92
   Payroll Liabilities                                                                                       -57,363.27
    Federal Taxes (941/944)                                                                                        0.00
    Federal Unemployment (940)                                                                                     0.00
    NV Unemployment Tax                                                                                         -610.00
   Total Payroll Liabilities                                                                                 -57,973.27
  Total Other Current Liabilities                                                                          $ -93,787.99
 Total Current Liabilities                                                                                 $ -38,998.17
 Long-Term Liabilities
  N/P - CapyBara                                                                                             43,609.86
  N/P - Credibly                                                                                            168,212.19
  N/P - Vehicles
   N/P CapOne Finance Ford F250                                                                                6,158.35
   N/P Ford F150 - 0% Int                                                                                    17,824.38
  Total N/P - Vehicles                                                                                       23,982.73
  N/P Paul & Linda Dorsa                                                                                    122,101.73
  N/P Paul & Linda Dorsa Start Up                                                                                  0.00
  SBA Notes
   N/P EIDL SBA 2020                                                                                        395,407.81
   N/P SBA 7A 2022                                                                                          173,849.88
   N/P SBA Bay First 2023                                                                                   146,545.25
  Total SBA Notes                                                                                           715,802.94
 Total Long-Term Liabilities                                                                              $1,073,709.45
 Total Liabilities                                                                                        $1,034,711.28
 Equity
 J Gilliam Equity                                                                                                  0.00
  JG Distributions                                                                                           -34,084.75
  JG Investments                                                                                             19,971.82
 Total J Gilliam Equity                                                                                      -14,112.93
 L Gilliam Equity
  LG Draws                                                                                                   -88,311.64
 Total L Gilliam Equity                                                                                      -88,311.64
 Opening Balance Equity                                                                                     -299,092.44
 PPP Loan Forgiven                                                                                          130,842.00
 Retained Earnings                                                                                          -530,860.18
 Net Income                                                                                                  41,365.12
 Total Equity                                                                                             $ -760,170.07
TOTAL LIABILITIES AND EQUITY                                                                               $274,541.21




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                                                    Profit and Loss
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                                                                                                           TOTAL
Income
 Construction Income                                                                                    339,677.00
Total Income                                                                                           $339,677.00
Cost of Goods Sold
 Cost of Goods Sold
  1099 Contractors                                                                                       51,373.00
  Debris Removal                                                                                          3,809.00
  Equipment Rental                                                                                       14,673.20
  Freight & Delivery                                                                                       125.00
  Materials & Supplies                                                                                  176,494.50
 Total Cost of Goods Sold                                                                               246,474.70
Total Cost of Goods Sold                                                                               $246,474.70
GROSS PROFIT                                                                                            $93,202.30
Expenses
 Advertising & Marketing
  Angies List                                                                                             1,678.77
  Marketing                                                                                                149.06
  Media                                                                                                   4,242.64
  Website                                                                                                 2,013.84
 Total Advertising & Marketing                                                                            8,084.31
 Auto
  Fuel                                                                                                    4,511.70
  Maintenance & Repairs                                                                                      30.00
 Total Auto                                                                                               4,541.70
 Cash Withdrawals                                                                                         1,900.00
 Crew Lunch                                                                                               1,251.84
 Dues & Subscriptions                                                                                      165.00
  Adobe                                                                                                      87.96
  QB Fees                                                                                                  939.00
 Total Dues & Subscriptions                                                                               1,191.96
 Insurance                                                                                                2,022.48
  401K                                                                                                    5,470.52
  IPFS                                                                                                    4,205.30
  Medical                                                                                                  719.28
  Misc Ins                                                                                                 141.28
  Wk Comp                                                                                                 9,087.40
 Total Insurance                                                                                         21,646.26
 Internet                                                                                                  139.98
 Office Expense                                                                                           2,158.51
 Payroll Expenses
  Bonus                                                                                                   5,000.00
  Service Fees - PR                                                                                      25,009.07
  Taxes                                                                                                  23,152.73


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                                                  Profit and Loss
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                                                                                                          TOTAL
  Wages                                                                                                64,980.20
 Total Payroll Expenses                                                                               118,142.00
 Professional Fees
  Bookkeeping                                                                                             750.00
  Memberships                                                                                              52.00
 Total Professional Fees                                                                                  802.00
 Rent & Lease                                                                                           2,479.90
 Rent - Storage Unit                                                                                      833.53
 Shop Supplies                                                                                            174.17
 Telephone                                                                                                350.90
 Uncategorized Expense                                                                                  1,621.48
 Uniforms                                                                                                 406.03
Total Expenses                                                                                       $165,724.57
NET OPERATING INCOME                                                                                 $ -72,522.27
Other Income
 Interest Income                                                                                            1.04
Total Other Income                                                                                         $1.04
NET OTHER INCOME                                                                                           $1.04
NET INCOME                                                                                           $ -72,521.23




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